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                                                               United States Bankruptcy Court
                                                                     Western District of Missouri
 In re      417 Rentals, LLC                                                                              Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 417 Rentals, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 New Vacancy LLC
 1949 East Sunshine
 Springfield, MO 65808




    None [Check if applicable]




 August 25, 2017                                                      /s/ Ronald S. Weiss MO
 Date                                                                 Ronald S. Weiss MO #21215
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 417 Rentals, LLC
                                                                      Berman DeLeve Kuchan & Chapman, LLC
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